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              Exhibit 1
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                           The CREW Method Weeding Chart:
                 Overview Chart for CREW Formulas Used in Library Collection Weeding
                   Please see notes at bottom of page for tips in reading the chart

 Dewey Class            Age/Yrs. since last clrcJCondition          Dewey Class               Age/Yrs . since last circJ
                                                                                              Condition
    000    011          10/XJMUSTIE                                 800                       XJXJMUSTIE
           020          10/3/ MUSTIE                                900    910                5131MUSTIE (geography &
                        5/XJMUSTIE
                                                                                              guide books)
           030
           Others       5/XJ MUSTIE                                        920                10/3/ MUSTIE (personal narra-
                                                                                              tives
                                                                                              15/31MUSTIE




                                                                                                                                                1
           330
           340
           350
           360
           370
           390




                        10/3/ MUSTIE
                        XJ3/ MUSTIE
                        10/3/ MUSTIE
                        10/3/ MUSTIE

          610           5131MUSTIE
          630           5131MUSTIE
          635           10/31MUSTIE
          640           5/3/MUSTIE
          649           5/3/ MUSTIE
          690           10/3/ MUSTIE
          Others        5131MUSTIE

                        X/3/MUSTIE
                        513/MUSTIE                                     Source: Chart is Courtesyof Library Development
                        10/3/ MUSTIE                                Division, Texas State Library (Power Tools, ALA, 1998)
          Others        X/XJMUSTIE

MUSTIE=Misleading.Ugly . Supersededby new editions or better books. Trivial. Irrelevant to school community needs
                         and interests, easily obtained Elsewherevia interlibrary loan.
                 WORST= Worn out. Out of date. Rarely used, Central office/borough can supply, Trivial
                   X = This factor is not applicable to this specific Dewey Range-do not consider it.



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                                                                                                                    UPD,            Plaintiffs' Exhibit



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